                                             Entered on Docket
                                             April 07, 2008
                                             GLORIA L. FRANKLIN, CLERK
                                             U.S BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF CALIFORNIA


 1
                                             Signed: March 31, 2008
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                                                      ________________________________________
 4                                                              RANDALL J. NEWSOME
                                                                U.S. Bankruptcy Judge
 5                                           ________________________________________
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 7
 8                            UNITED STATES BANKRUPTCY COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                      OAKLAND DIVISION
11
12
     In re:Efren Reynoso                               Case Number:06-42533-RN
13                                                     Chapter:11
14
15                                       Debtor(s)/
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                     ORDER VACATING DISCHARGE AND FINAL DECREE
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          On 1/29/2008, the Clerk’s Office entered the Order of Discharge and Final Decree on the above
20
          captioned case in error.
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          In light of the above and good cause appearing,
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          IT IS ORDERED that the Order of Discharge and Final Decree in the above captioned case are
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          vacated.
24
                                        **END OF ORDER**
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 1                                       COURT SERVICE LIST
 2   All Recipients
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